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6     Attorneys for Plaintiff KURT
      ANTHONY MILLER
7
                       IN THE UNITED STATES BANKRUPTCY COURT
8
           FOR THE NORTHERN DISTRICT OF CALIFORNIA-SAN JOSE DIVISION
9

10    GLORIA CABRAL,                                   Case No. 18-51575 MEH
                                                       Chapter 13
11
                 Debtor.
12                                       Adv. Pro. No.
      __________________________________
13
      KURT ANTHONY MILLER,
14
                                                       COMPLAINT TO DETERMINE
                   Plaintiff,                          DISCHARGABILITY OF A DEBT
15

16    v.

17    GLORIA CABRAL,
18
                    Defendant.
19

20
            Plaintiff KURT ANTHONY MILLER alleges that:
21
            1. This adversary proceeding arises from Debtor\Defendant GLORIA
22

23    CABRAL’S chapter 13 bankruptcy case, assigned the case number listed above,

24    which case is presently pending in the San Jose Division of this Court.

25          2. This adversary proceeding complaint initiates an action as set forth in Fed.
26
      R. Bank. P. 7001(6). This Court has jurisdiction over this complaint and venue is
27
      proper pursuant to 28 U.S.C. §§ 151, 157 and 1334. This is a core proceeding
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      pursuant to 28 U.S.C. §§ 157(b)(2)(I) and the plaintiff consents to the entry of a final
2
      judgment by the Bankruptcy Court of this adversary proceeding.
3
                                                PARTIES
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5            3. Plaintiff KURT ANTHONY MILLER is an individual that had previously

6     conducted business in the State of California, County of Santa Clara.
7            4. Defendant GLORIA CABRAL (Debtor or Defendant) is a natural person and
8
      the debtor who filed this bankruptcy case.
9
                                      FACTUAL BACKGROUND
10
             5. On or about July 24, 2013, plaintiff filed a complaint for damages against
11

12    the debtor and her adult daughters Gloria Castaneda, Ana Castaneda and Blanca

13    Castaneda in the Los Angeles County Superior Court. In that action, Miller v. Cabral,

14    et al. assigned Case No. BC516170, plaintiff sought damages for fraud from
15    defendants’ misrepresentations arising from a loan transaction with plaintiff.
16
             6. The plaintiff’s claims against the debtor and other defendants in the Los
17
      Angeles Superior Court case was based on defendants’ and defendant debtor’s false
18
      representations from September 2007:
19

20                   a. that if plaintiff lent debtor $100,000, the debtor would secure that

21    loan against property the debtor owned at 3474 Gila Drive, San Jose, California

22    (Property);
23
                     b. that debtor would not transfer the Property to anyone without
24
      plaintiff’s consent;
25
                     c. that the debtor would keep current the existing first deed of trust
26
      against the Property and would pay all insurance, property taxes and maintain the
27
28    Property;




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                    d. that the debtor would utilize the equity in a property the debtor
2
      owned free and clear in Guadalajara, Mexico to ensure payment of the $100,000
3
      loan.
4

5             7. The debtor’s and her daughters’ representations were false or made in

6     reckless disregard of the truth and that those statements damaged plaintiff. The
7     debtor and her daughters made those statements to plaintiff knowing that they would
8
      not make the loan payments as provided in the promissory note, that the debtor and
9
      her daughters would transfer the Property without plaintiff’s consent, that the debtor
10
      would transfer and\or not utilize the Guadalajara, Mexico property to pay plaintiff and
11

12    that defendant would not keep the first deed of trust current, pay insurance, property

13    taxes or maintain the Property.

14            8. On or about December 29, 2014, the Los Angeles Superior Court (Scheper,
15    J.) held a trial on the matter. The trial allowed for the presentation of plaintiff’s and
16
      defendants’ cases in chief. Following the presentation of the evidence, the court
17
      entered a fraud judgment in favor of plaintiff and against the debtor, Gloria Cabral
18
      Robles, Gloria Castaneda Cabral, Ana Castaneda and Blanca Castaneda for
19

20    $303,595. A copy of that judgment which references the Superior Court’s findings is

21    attached as Exhibit A.

22            9. Defendant-debtor filed a motion with the Los Angeles Superior Court to
23
      vacate the judgment attached as Exhibit A. Debtor’s motion to vacate was denied.
24
              10. Plaintiff obtained an abstract of that judgment and recorded the judgment
25
      in Santa Clara County, California on or about March 25, 2015.
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      \
27
28    \




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                                    FIRST CLAIM FOR RELIEF
2
                            ACTUAL FRAUD - 11 U.S.C. § 523(a)(2)(A)
3
             11. Plaintiff incorporates the allegations set forth in paragraphs 1 through 10
4

5     above as though fully set forth herein.

6            12. At the time the defendant-debtor made the representations and actions
7     referenced herein, the defendant knew those representations were false.
8
             13. The defendant made the representations and actions referenced herein
9
      with the intention and purpose of deceiving Plaintiff.
10
             14. The plaintiff justifiably relied on the representations of defendant.
11

12           15. As a direct and proximate result of defendant’s representations and

13    actions, plaintiff has sustained damages, as found by the Los Angeles Superior Court

14    of $303,595 plus statutory interest of 10% per annum from December 29, 2014.
15           16. The Los Angeles Superior Court judgment has collateral estoppel effect
16
      as to defendant-debtor on the issue of fraud, since she had a full and fair opportunity
17
      with adequate notice to contest any disputed issues.
18
             WHEREFORE, Plaintiff prays for Judgment against Defendant, as set forth
19

20    herein.

21                                       PRAYER FOR RELIEF

22
             WHEREFORE, Plaintiff requests that the Court grant Judgment against
23
      Defendant as follows:
24
             1. For Judgment in Plaintiff=s favor based on the Los Angeles Superior Court
25
      judgment, Exhibit A hereto, with a finding that the Los Angeles judgment is non-
26
      dischargeable pursuant to 11 U.S.C. § 523(a), et seq.;
27
             2. For costs of suit; and
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2          3. For such other and further relief as is just and proper.

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                                              DINAPOLI & SIBLEY
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5     Dated: November 5, 2018                 /s/ Steven J. Sibley

6                                             STEVEN J. SIBLEY, counsel for

7                                             plaintiff KURT ANTHONY MILLER
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                                 EXHIBIT A




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